  Case 18-00273        Doc 9    Filed 11/06/18   Entered 11/06/18 09:22:32    Desc Main
                                   Document      Page 1 of 2



                 IN THE UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF ILLINOIS

 In re:                                             Chapter 7

 CARHART, INC.,                                     Bankruptcy No. 16-24720

                        Debtor.                     Honorable Pamela S. Hollis


 JOJI TAKADA, not individually but as
 chapter 7 trustee for the bankruptcy estate of
 Carhart, Inc.,

                        Plaintiff,
                                                    Adv. No.: 2018-AP-00273
 v.

 KEXIN CARHART

                        Defendants.

                   NOTICE OF MOTION FOR DEAFULT JUDGMENT

To: See Service List

          PLEASE TAKE NOTICE that on December 14, 2018 at 10:00 a.m., the

undersigned shall present to the Honorable Pamela S. Hollis, or any judge sitting in her

stead, in the United States Bankruptcy Court for the Northern District of Illinois, at Joliet

City Hall, 150 West Jefferson Street, 2nd Floor, Joliet, Illinois 60432, PLAINTIFF’S

MOTION FOR DEFAULT JUDGMENT, a copy of which is served upon you.

Dated: November 6, 2018
  Case 18-00273     Doc 9     Filed 11/06/18       Entered 11/06/18 09:22:32      Desc Main
                                 Document          Page 2 of 2


                                                    Joji Takada, not individually, but as
                                                    Chapter 7 Trustee (the “Trustee”) of the
                                                    bankruptcy estate of Carhart, Inc.

                                                    By: /s/ Nathaniel Cade, Jr.
                                                    One of his attorneys

Nathaniel Cade, Jr.
CADE LAW GROUP LLC
P.O. Box 170887
Milwaukee, WI 53217
(414) 255-3802 (phone)
(414) 255-3804 (fax)
nate@cade-law.com


                              CERTIFICATE OF SERVICE


      I, Nathaniel Cade, Jr., certify that on November 6, 2018, I caused a copy of

PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT to be served on the parties on the

service list, below, by overnight mail, U.S. Mail, postage prepaid, as well as via CM/ECF

on all parties receiving notice through the CM/ECF system.

                                                    By: /s/ Nathaniel Cade, Jr.


                                     SERVICE LIST

Kexin Carhart
621 Seaview Court
#P2
Marco Island, Florida 34145

John S. Biallas, Esq.
(counsel for Chris Carhart)
3N918 Sunrise Lane
St. Charles, Illinois 60174




                                               2
